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                                                                               United States District Court
                                                                                 Southern District of Texas

                                                                                    ENTERED
                    IN THE UNITED STATES DISTRICT COURT                           August 16, 2024
                    FOR THE SOUTHERN DISTRICT OF TEXAS                           Nathan Ochsner, Clerk

                              HOUSTON DIVISION


FERCAN E. KALKAN AND                         §
PINEY POINT 2023, LLC                        §
                                             §
      Plaintiffs,                            §
                                             §
v.                                           §         Civil Action No. 4:24-cv-2548
                                             §
FEDERAL NATIONAL MORTGAGE                    §
ASSOCIATION (FANNIE MAE) AND                 §
GAVRIEL TOSO, AS SUBSTITUTE                  §
TRUSTEE,                                     §
                                             §
      Defendants.                            §


                           ORDER STRIKING MOTION

       Plaintiffs initiated this case in state court to halt the foreclosure sale of a multi-

family property. ECF 1-1 at 5-20.      On July 7, 2024, Defendants removed the case to

this federal court based on diversity jurisdiction. ECF 1. There are two other pending

federal court cases involving the same property in which Plaintiffs and Fannie Mae are

named as defendants: SITG Capital Partner, LLC v. Kalkan et al., Civil Action No.

4:24-cv-2906, pending before District Judge David Hittner, and Adil Property, Inc. v.

Kalkan et al., Civil Action No. 4:24-cv-2972, pending before District Judge Alfred H.

Bennett. In Civil Action No. 4:24-cv-2906 (ECF 6), the parties stipulated to a TRO

prohibiting foreclosure to remain in place through September 9, 2024.

      Pending before the Court is Defendants’ Motion to Consolidate the cases

referenced above with this first-filed federal case pursuant to Federal Rule of Civil
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Procedure 42(a). ECF 15. The Motion to Consolidate does not contain a Certificate

of Conference as required by Local Rule of the Southern District of Texas 7.1(D). It

is therefore

      ORDERED that Defendants’ Motion to Consolidate (ECF 15) is STRICKEN

from the record for failure to comply with Local Rules. It is further

      ORDERED that Defendants may refile the Motion to Consolidate if it is

accompanied by a Certificate of Conference indicating that counsel for all plaintiffs

and defendants have conferred and either agree or cannot agree on disposition of the

Motion.



 Signed on August 16, 2024, at Houston, Texas.



                                                        Christina A.
                                                                  A Bryan
                                                   United States Magistrate Judge
